               Case 5:22-cr-00053-EJD Document 48 Filed 06/30/22 Page 1 of 2




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 GALEN A. PHILLIPS (CABN 307644)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7110
 7        FAX: (415) 436-7234
          galen.phillips@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,        ) CASE NO. 5:22-CR-00053-EJD
                                      )
14        Plaintiff,                  ) UNITED STATES’ BILL OF PARTICULARS FOR
                                      ) FORFEITURE OF PROPERTY
15     v.                             )
                                      )
16   RAYMOND CABALLERO-ARAUJO, ET AL. )
                                      )
17        Defendants.                 )
                                      )
18
19          The United States of America, by and through Stephanie M. Hinds, United States Attorney for
20 the Northern District of California, and Galen A. Phillips, Assistant United States Attorney, hereby files

21 the following Bill of Particulars for Forfeiture of Property.

22          The superseding information filed on May 10, 2022, as docket entry 37 and charging Defendant
23 Raymond Caballero-Araujo (the “information”) seeks forfeiture of property pursuant to Title 21, United

24 States Code, Section 853(a). The United States hereby provides further notice that, pursuant to the

25 information’s forfeiture allegations, the United States seeks forfeiture of at least the following property:

26      •   $90,732.00 in United States Currency seized on or about January 19, 2022, from 1150
27          Tallahassee Drive, San Jose, CA 95122;
28      •   $5,100.00 in United States Currency seized on or about January 19, 2022, from 1150 Tallahassee
     BILL OF PARTICULARS                              1
     5:22-CR-00053-EJD
              Case 5:22-cr-00053-EJD Document 48 Filed 06/30/22 Page 2 of 2




 1          Drive, San Jose, CA 95122; and

 2      •   $36,116.00 in United States Currency seized on or about January 19, 2022, from 1150
 3          Tallahassee Drive, San Jose, CA 95122.

 4

 5

 6 DATED: June 30, 2022                                       Respectfully submitted,

 7                                                            STEPHANIE M. HINDS
                                                              United States Attorney
 8

 9
                                                              ________/S/________________
10                                                            GALEN A. PHILLIPS
                                                              Assistant United States Attorney
11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     BILL OF PARTICULARS                             2
     5:22-CR-00053-EJD
